Case 2:17-cv-01032-G.]F-CG Document 1-2 Filed 10/13/17 Page 1 of 4

FILED
12TH JUD|C|AL D|STR|CT CCURT
LlNCOLN COUNT¥ NM
2121/2017 2104:25 PM
KAT|NA WATSON
CLERK OF COURT
TwELFTH JUmcIAL msch CoURT LBHW‘"SM
COUNTY OF LINCOLN
STATE OF NEW MEXICO
OSCAR D. GARCIA, as Personal Repraaentative
of the Estate of JOSE EDUARDO GARCIA
RODRIGUEZ, Deoeased,
Plaintiff,
vs. Cause No. D-1226-CV-2016-00255
TRANSPORT LOGISTIC CORPORATION
d/b/a REGIO EXPRESS, a Foreign Corporation,
and JOSE ARELLANO,
Defendants.
EFENDANT E ARE ’ RIGINAL AN WER TO C MPLAINT R
R N DEATH AND NE E
TO 'I`BE IIONORABLE JUDGE OF SAID COURT:
COMES NOW Defendant, IOSE ARELLANO, and files his Answer to the Complaint for
Wrongful Death and Negligence (hereinafter “Complaint"), and states as follows:
GENERAL ALLEQATIONS
1. On information and belief, Defendant admits the alleytions in paragraph 1 of the
Complaint.
2. Gn information and belief, Defendant admits the allegations in paragraph 2 of the
Complaint.
3. On information and belief, Defendant admits the allegations in paragraph 3 ofthe
Complaint.
EXH|BIT

§|§

Case 2:17-cv-01032-G.]F-CG Document 1-2 Filed 10/13/17 Page 2 of 4

STATEMENT OF CLA]M

4. The allegations in paragraph 4 do not require a response To the extent a response
is required Defendant incorporates his responses to the preceding 3 paragraphs

5. Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations in paragraph 5 of the Complaint and therefore denies same
Defendant can only admit that the Decedent was traveling westbound on U.S. Highway 70 near
Hondo, New Mexico.

6. Answering paragraph 6 of the Complaint, Defendant admits that he was employed
by Defendant Regio Express and that he was in the course and scope of his employment
Defendant further admits, that he was driving eastbound on U.S. Highway 70 towards Roswell,
New Mexico. Defendant denies the remaining allegations in paragraph 6 of the Complaint.

7. Answering paragraph 7, Defendant objects to the averments as being overbroad,
global and vague Defendant admits that he was interviewed by the investigating police ofhcer
and that he provided his description of the accident Defendant admits that the Decedent had
crossed the center line into eastbound traffic and that Defendant attempted evasive maneuvers
Defendant admits, generally, that under certain conditions when it is otherwise safe to do so, that
turning to the right may be a proper evasive maneuver.

8. Answering paragraph 8 of the Complaint, Defendant objects to the term “center
lane” as being undefined and unclear. Subject to the objection, Defendant is without knowledge
or information sufficient to form a belief as to the truth of the allegations in paragraph 8 of the

Complaint and therefore denies same

9. Answen'ng paragraph 9 of the Complaint, Defendant objects that the averments

are based upon an improper predicate and assumption of negligence which is denied Defendant

Case 2:17-cv-01032-G.]F-CG Document 1-2 Filed 10/13/17 Page 3 of 4

admits that his attorney and opposing counsel shared to costs of an expert to analyze the ECM
Module. Defendant is without knowledge or information sui`ticient to form a belief as to the
truth of the remaining allegations in paragraph 9 of the Complaint and therefore denies same

10. Defendant denies the allegations in paragraph 10 of the Complaint

11. Defendant denies the allegations in paragraph ll of the Complaint

12. Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations in paragraph 12 of the Complaint and therefore denies same

13. Answering paragraph 13 of the Complaint, Defendant denies that any of his acts
or omissions were reckless, wanton, willbe or deliberately indifferent warranting the imposition
of punitive damages

DEFE E

l. By way of defense or aEirmative defense, Defendant would assert that the
Decedent’s own comparative fault or negligence was the proximate producing and actual cause
of some or all of the Plaintiff's injuries damages and losses

2. By way of defense or affirmative defense, Defendant would show that the
accident complained of was caused or contributed to by the negligence of other parties, over
whom this Defendant exercised no control, which was the producing proximate, actual or the
sole proximate cause of the incident, damages and losses complained of. Defendant denies that
it is liable for the acts or omissions of those parties

3. Any other averment, allegation or other statement in Plaintiffs Complaint not

specifically admitted herein is denied.

4. Defendant demands trial by jury of 12.

Case 2:17-cv-01032-G.]F-CG Document 1-2 Filed 10/13/17 Page 4 of 4

WHEREFORE, Defendant JOSE ARELLANO, prays for judgment that Plaintiii` take
nothing in this lawsuit and that the Court award Defendant his costs, reasonable and necessary

attorneys’ fees, and such other and further relief both at law and in equity to which he may prove

himself justly entitled

Respectfully submitted,

WINDLE, HOOD, NORTON,
BRITTAIN & JAY, LLP
Chase Tower, Suite 1350

201 East Main Drive

El Paso, Texas 79901

(915) 545-4900

(915) 5454911 (Facsimile)

By:/s/ Eric M. Bri@`n
ERIC M. BRI’ITAIN
State Bar No.: 1 1873

Attorney for Defenth JOSE ARELLANO

RTIFI ATE ERVI

I hereby certify that a true and correct copy of the foregoing instrument was submitted for
e-tiling through Odyssey File & Serve and delivered electronically to Adam Daniel Ratlcin,

Adam D. Ratkin, P.C., P.O. Box 1912, Ruidoso, New Mexico 88355, on this _2_1_st__ day of
February, 2017.

/s/ Eric M Brittain
Eric M. Brittain

